
2 N.Y.2d 905 (1957)
Otto Gerdau Co., Respondent,
v.
Bowne-Morton Stores, Inc., Appellant.
Court of Appeals of the State of New York.
Argued January 9, 1957.
Decided March 8, 1957.
Joseph M. Lonergan and Murray I. Sommer for appellant.
Robert F. Doran for respondent.
Concur: CONWAY, Ch. J., DESMOND, DYE, FULD and BURKE, JJ. FROESSEL and VAN VOORHIS, JJ., dissent and vote to reverse and dismiss the complaint upon the ground that the evidence was insufficient to establish that the merchandise received by the defendant was in good condition.
Judgment affirmed, with costs; no opinion.
